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                    EXHIBIT C
            " USDA Directive"
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                                                                                                  Partnerships Page 2 of      8
                                                                                                                            Commodities Grant …



                                                                                              Andrew Currie <andrew@pasafarming.org>



  FW: FOR DISTRIBUTION TO GRANT RECIPIENTS: Partnerships for Climate-Smart
  Commodities Grant Update
  Culbert, Tanya - FPAC-NRCS, MS <tanya.culbert@usda.gov>                                Wed, Jan 22, 2025 at 1:14 PM
  To: "Culbert, Tanya - FPAC-NRCS, MS" <tanya.culbert@usda.gov>
  Cc: "Anderson, John - FPAC-FSA, SD" <john.a.anderson@usda.gov>, "Abouali, Mustapha - FPAC-NRCS, NV"
  <mustapha.abouali@usda.gov>, "Hansen, Eric - FPAC-NRCS, DC" <Eric.Hansen@usda.gov>


     Hello Grantees,



     Please see message below for your awareness.



     Let me know if you have questions and I will work to get you answers.



     Thank you,


     Tanya Culbert
     National Program Officer
     Office of the Associate Chief | Center for Sustainable Commodity Markets




     | c: (601) 748-9177 |Remote duty station
     e: tanya.culbert@usda.gov | https://www.nrcs.usda.gov/


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                                                                                                  Partnerships Page 3 of      8
                                                                                                                            Commodities Grant …
     Dear Grant Recipients,



     As of late yesterday, January 21, 2025, the administration placed a temporary suspension on all actions related to grants,
     including Partnerships for Climate-Smart Commodities grants. This is a fluid situation, and we ask for your patience as we
     work to gain additional clarification for you in the coming days.



     Please contact your National Program Officer if you have additional questions. We will continue to provide periodic
     updates via email as more information becomes available.



     Sincerely,

     Katina



     *************************************************************************
     Katina D. Hanson
     Director
     Office of the Associate Chief | Center for Sustainable Commodity Markets




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                                                                                                                            Commodities Grant …



                                                                                              Andrew Currie <andrew@pasafarming.org>



  FW: FOR DISTRIBUTION TO GRANT RECIPIENTS: Partnerships for Climate-Smart
  Commodities Grant Update FAQs
  Culbert, Tanya - FPAC-NRCS, MS <tanya.culbert@usda.gov>                                                        Wed, Jan 22, 2025 at 3:53 PM
  To: "Culbert, Tanya - FPAC-NRCS, MS" <tanya.culbert@usda.gov>


     Hello Grantees,



     Please see additional guidance below.



     Thank you,


     Tanya Culbert
     National Program Officer
     Office of the Associate Chief | Center for Sustainable Commodity Markets




     | c: (601) 748-9177 |Remote duty station
     e: tanya.culbert@usda.gov | https://www.nrcs.usda.gov/


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     Dear Grant Recipients,




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                                                                                                                            Commodities Grant …
     We have received additional guidance from the USDA Office of the Chief Financial Officer’s office on the temporary
     suspension of all USDA actions related to grants, including Partnerships for Climate-Smart Commodities grants. Please
     see Frequently Asked Questions (FAQs) below:



          1. Does the moratorium include no-cost extensions or no-cost modifications on existing awards?

                  a. Answer: No, it does not apply to no-cost extensions or no-cost modifications. This may include budget
                     revisions that do not obligate additional funds, no-cost extensions of time, changes in key staff, and other
                     changes that do not result in any additional expenditure of funds (regardless of their source).

          2. Can existing work continue under active awards?

                  a. Answer: Yes, until such time that you receive guidance in the future that specific transactions must be
                     modified or terminated.

          3. Can payments or claims be processed under existing awards?

                  a. Answer: At this time, yes, payments or claims may continue to be processed under existing awards,
                     provided that they are not funded using IRA and IIJA funding sources. Additional guidance related to IIJA
                     and IRA funds will be provided by OCFO and/or OBPA, when available.

     The above direction is subject to change pending updates from the current administration. Any updates will be
     communicated in writing when available.



     Again, this is a fluid situation, and we ask for your patience as we work to gain additional clarification for you in the coming
     days. Please contact your National Program Officer if you have additional questions. We will continue to provide periodic
     updates via email as more information becomes available.



     Sincerely,

     Katina



     *************************************************************************
     Katina D. Hanson
     Director
     Office of the Associate Chief | Center for Sustainable Commodity Markets




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                              U.S. Department of Agriculture

P R E S S R E L E AS E

Secretary Rollins Releases the First Tranche of Funding
Under Review
PUBLISHED:    February 20, 2025
SHARE:




Today, U.S. Secretary of Agriculture Brooke Rollins announced that USDA
will release the first tranche of funding that was paused due to the review
of funding in the Inflation Reduction Act (IRA).
Washington, D.C., Feb. 20, 2025—Today, U.S. Secretary of Agriculture Brooke Rollins
announced that USDA will release the first tranche of funding that was paused due to the
review of funding in the Inflation Reduction Act (IRA).
In alignment with White House directives, Secretary Rollins will honor contracts that were
already made directly to farmers. Specifically, USDA is releasing approximately $20 million
in contracts for the Environmental Quality Incentive Program, the Conservation
Stewardship Program, and the Agricultural Conservation Easement Program.
“American farmers and ranchers are the backbone of our nation,” said Secretary Rollins.
“They feed, fuel, and clothe our nation—and millions of people around the world. The past
four years have been among the most difficult for American Agriculture, due in no small
measure to Biden’s disastrous policies of over-regulation, extreme environmental
programs, and crippling inflation. Unfortunately, the Biden administration rushed out
hundreds of millions of dollars of IRA funding that was supposed to be distributed over eight
years. After careful review, it is clear that some of this funding went to programs that had
nothing to do with agriculture—that is why we are still reviewing—whereas other funding
was directed to farmers and ranchers who have since made investments in these programs.
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We will honor our commitments to American farmers and ranchers, and we will ensure they
have the support they need to be the most competitive in the world.”
This is the first tranche of released funding, and additional announcements are forthcoming
as USDA continues to review IRA funding to ensure that we honor our sacred obligation to
American taxpayers—and to ensure that programs are focused on supporting farmers and
ranchers, not DEIA programs or far-left climate programs.


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Release No.:
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